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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF OKLAHOMA

    DAVID BRIAN MORGAN,                   )
                                          )
         Plaintiff,                       )
                                          )
    v.                                    )
                                                Case No. CIV-20-494-D
                                          )
    UNITED STATES OF                      )
    AMERICA, et al.,                      )
                                          )
         Defendants.

                                      ORDER

         Plaintiff, a prisoner appearing pro se, has filed an application to proceed

in forma pauperis and, upon order of the Court, a supplement to his application

which he entitled a “Motion to Submit OSR.” Docs. 7, 17. 1 Having reviewed

the documents, the Court finds Plaintiff is entitled to proceed without

prepayment of the full filing fee, and to that extent Plaintiff’s application to

proceed IFP is granted. However, pursuant to 28 U.S.C. § 1915(b)(1), Plaintiff

shall be required to pay the full $350 filing fee as set forth hereafter.

         The Court orders that on or before July 21, 2020, Plaintiff pay an

initial partial filing fee of $66.54, which is 20 percent of the average


1      Plaintiff does not explain what “OSR” means and has not moved for any
relief in this motion. Plaintiff does state that he did not “agree” to a Magistrate
Judge hearing his case and asks the Court to “make the necessary change to
our case.” Doc. 17, at 1. This request is DENIED. The case was randomly
referred to the undersigned in accordance with 28 U.S.C. § 636(b)(1). See Doc.
4. A referral under § 636(b) does not require the parties’ consent.
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monthly balance in Plaintiff’s institutional account over the past six months.

See Doc. 17, at 2 & Att. 1, at 2; see also 28 U.S.C. § 1915(b)(1). The Court

advises that unless by the date specified above Plaintiff has either (1)

paid the initial partial filing fee, or (2) shown cause in writing for the

failure to pay, this action will be subject to dismissal without

prejudice to refiling, and no fees or costs will be imposed or collected.

Moreover, Plaintiff may voluntarily dismiss this action in accordance

with Fed. R. Civ. P. 41(a) on or before July 21, 2020, without incurring

any fees or costs.

      The Court further orders that after payment of the initial partial filing

fee, Plaintiff shall make monthly payments of 20 percent of the preceding

month’s income credited to his prison account(s) until he has paid the total

filing fee of $350. 28 U.S.C. § 1915(b)(2). This Court will enter an order

directing the agency having custody of Plaintiff to collect and forward such

monthly payments to the Clerk of the Court each time the institutional account

balance(s) exceed(s) $10.00 until the filing fee is paid in full. Id. Interference

by Plaintiff in the submission of these funds shall result in the dismissal of this

action.

      The Court advises Plaintiff that notwithstanding any filing fee, or any

portion thereof, that may have been paid, the Court shall dismiss at any time

all or any part of such complaint which (1) is frivolous or malicious; (2) fails to

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state a claim on which relief can be granted; or (3) seeks monetary relief from

a defendant who is immune from such relief. 28 U.S.C. §§ 1915A; 1915(e)(2).

The Court further advises Plaintiff that such monthly payments will continue

to be collected until full payment of the filing fee has been received by the Court

even after disposition of the case and regardless of whether relief is granted or

denied.

      The Clerk of the Court shall not issue process until further order of the

Court, and the Clerk shall send a copy of this order to the agency having

custody of Plaintiff.

      IT IS SO ORDERED this 30th day of June, 2020.




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